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IN THE UNITED STATES DISTRICT COURT Uy
FOR THE WESTERN DISTRICT OF NORTH CAROLINA Map © No
Civil Action No. 1:21-cv-305-MR-WCM Us 12 ay
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BROTHER T. HESED-EL, ) NST CT
Cr ,- Ou,
) OF WOT
Plaintiff, ) ~
y ) _ MOTION TO DECLARE STATUTE
) _ UNCONSTITUTIONAL AS APPLIE!
ROBIN BRYSON, et al., )
)
Defendants. )

COMES NOW Brother T. Hesed-El (hereinafter “Plaintiff’), pursuant to Rule 5.1 of the
Federal Rules of Civil Procedure, and hereby moves the Court to declare that G.S, § 122C-210.1
is unconstitutional as applied in this case. Pursuant to Local Rule 7.1, the parties have consulted
on this matter and the defendants oppose this motion.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that pursuant to 28 USC § 2403(b), the Court will (1) certify
to the appropriate attorney general that G.S. § 122C-210.1 has been questioned; (2) provide the
parties with a copy of that certification;! (3) enter an order declaring that G.S. § 122C-210.1 is
unconstitutional as applied in this case; and (4) grant Plaintiff leave to proceed on all cognizable

claims and causes of actions present in the First Amended Complaint.”

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30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3 @gmail.com

1 Tf this court in fact has previously certified this constitutional question
to the appropriate attorney general, as raised by Plaintiff in any previous
paper, Plaintiff respectfully requests a copy of said certification.

2 Plaintiff has outlined six plausible claims for relief in the Motion for Rule
60(b) (1) Relief filed contempcoraneously with this motion.

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CERTIFICATE OF SERVICE

The undersigned certifies that this MOTION TO DECLARE STATUTE
UNCONSTITUTIONAL AS APPLIED has been sealed in an envelope with sufficient postage
affixed thereon, and deposited into the exclusive custody of the United States Post Office, to ensure
delivery to:

Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVEN, P.A,
Post Office Box 7647

Asheville, North Carolina 28802
dwalsh@roberts-stevens.coin

March 8, 2024

Bro. T. Hesed-El, Plaintiff pre se

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